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1                                                           The Honorable John C. Coughenour
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7                         UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
8
                                      AT SEATTLE
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       UNITED STATES OF AMERICA,                      CASE NO. CR20-032JCC
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                               Plaintiff,
                                                      GOVERNMENT’S SENTENCING
12
                                                      MEMORANDUM
13                       v.
14     KALEB COLE,
15                            Defendant.
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            Kaleb Cole helped lead a violent, nationwide neo-Nazi group that was responsible
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     for multiple murders. He repeatedly promoted violence, releasing promotional videos
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     showing men in skull masks spewing racial epitaphs while firing military-style assault
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     weapons. He organized “hate camps” where men from around the country met to train
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     for combat and to plan for a future “race war.” He stockpiled an arsenal of dangerous
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     weapons, and fled to Texas after his weapons were seized by law enforcement, later
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     acquiring a new assault rifle. He traveled overseas to meet with extremists, in an effort to
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     build an international network of violent neo-Nazis.
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            When journalists and members of the Anti-Defamation League started to expose
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     what Cole and his cohorts were planning and doing, Cole retaliated by terrorizing these
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     people. He directed that members target these individuals with messages of violence at
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 1 their homes. He created a poster for a Seattle journalist who had covered him that
 2 showed men pointing guns at the head of a journalist and a bloody image from the site of
 3 one of the Charles Manson murders. Other victims received equally violent messages.
 4          As the Court observed, Cole’s crimes caused significant trauma for the victims.
 5 Confined to their homes because of the pandemic, the victims lived with the uncertainty
 6 over whether anyone would come to their front door and carry out the acts depicted in the
 7 posters. Having seen and heard this testimony, Cole remains defiant and unapologetic,
 8 referring post-trial to the case as a “persecution” of him.
 9          Cole is a dangerous, unrepentant man who should be removed from society so that
10 he cannot harm or terrorize others. He should be punished for his cruelty in wanting his
11 victims to experience fear in their homes. His followers should be made to understand
12 that making violent threats carries serious consequences. For all of these reasons, the
13 government recommends that the Court sentence Cole to the top-end of the range, 87
14 months, and that he be placed on three years of supervised release, subject to the
15 conditions recommended by Probation.
16                                        BACKGROUND
17      A. Cole’s Background Extremist Behavior
18          Kaleb Cole was a leader of the Atomwaffen Division (“AWD”), a neo-Nazi group
19 that advocates violence against Jews and other minorities. AWD members have been
20 responsible for multiple murders, and have advocated violent acts aimed at overthrowing
21 the government. AWD came to the attention of law enforcement in May 2017, when
22 D.A. was arrested for murdering two of his roommates near Tampa, Florida. D.A. had
23 been a member of AWD, as were his roommates. After his arrest, D.A. admitted to the
24 murders of his two roommates and told investigators he had committed the murders after
25 he had converted to Islam and that the murders were his attempt at keeping the members
26 of AWD from committing planned acts of terror related to the group’s ideology. D.A.
27 claimed AWD had plans to use explosives to damage infrastructure and to commit acts of
28 violence.
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 1          After D.A.’s arrest, another roommate, B.R., who was the leader of AWD, was
 2 encountered by law enforcement at the residence unharmed. In the residence, law
 3 enforcement found bomb-making precursor chemicals and hexamethylene triperoxide
 4 diamine, a high explosive chemical. B.R. subsequently was convicted of explosives
 5 charges.
 6          Following the arrest of B.R., AWD selected Cole, then a resident of Arlington,
 7 Washington, and J.D., a resident of Texas, as its leaders. Members of AWD also formed
 8 a relationship with a Denver, Colorado resident who is the writer of the book, “Siege,”
 9 which serves as the basis for AWD ideology. The book, which is a collection of neo-
10 Nazi newsletters authored by the Colorado resident, advocates for the leaderless
11 resistance and lone offender strategies as a viable means to accelerate the collapse of the
12 United States Government, which members of the AWD believe to be controlled by Jews
13 and other minorities.
14          On January 25, 2018, AWD hosted a “Death Valley Hate Camp” in Las Vegas,
15 Nevada, where members trained in hand-to-hand combat and firearms, and created neo-
16 Nazi propaganda videos and pictures of themselves posing with weapons. Cole
17 coordinated the camp, beginning planning in early October 2017. A California AWD
18 member was expected to be at this hate camp, but could not attend due to being arrested
19 for the murder of an openly gay Jewish college student.
20          In December 2018, Cole traveled to Europe, and was inspected upon returning to
21 the United States. His phone contained a number of highly concerning photographs. For
22 example, he appears on the right in this photograph, posing with another individual in
23 front of the gates to Auschwitz:
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15 He also had a photograph showing a person in an AWD mask posing in front of a picture
16 of concentration camp victims:
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27 His phone made clear that he had met extremists overseas, as shown by this photograph
28 in which he poses with others before an AWD banner:
     Government’s Sentencing Memorandum
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14          He also had photographs of weapons, including this one:
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     Government’s Sentencing Memorandum
      U.S. v. Cole, CR20-032JCC - 5
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1           In September 2019, the Seattle Police Department served an Extreme Risk
2 Protection Order against Cole, given the serious risk that he posed to public safety.
3 Officers seized a stockpile of weapons from him:
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     Government’s Sentencing Memorandum
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 1          After being served the Extreme Risk Protection Order, Cole left Washington State
 2 for Texas with fellow AWD member B.A. On November 4, 2019, police stopped the two
 3 of them for speeding. The officer immediately spotted a large knife in the vehicle’s
 4 console. Officers recovered a loaded gun under B.A.’s seat and marijuana from various
 5 locations. Officers also recovered from the trunk three assault rifles, a large quantity of
 6 ammunition, and magazines. B.A. claimed that all of these items belonged to him, but
 7 Cole later told an informant that some of the ammunition belonged to him.
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19          After the seizure, King County charged Cole with violating the Extreme Risk
20 Protection Order. Cole told his co-conspirators during a chat that he was actively
21 avoiding the warrant, stating “Well that settles it, I’m not returning,” and stating “DAMN
22 RIGHT” when told that the warrant was non-extraditable. Cole also expressed concern
23 that the FBI had his license plate, and talked about acquiring a car in the future that
24 would not be under his name.
25      B. The Offense
26          In November 2019, Cameron Shea, a member of AWD, contacted an FBI
27 confidential human source (“CHS”) over an encrypted communication service. Shea,
28 who used the moniker “Krokodil,” invited the CHS to participate in an operation to
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 1 intimidate journalists by delivering threatening posters to their homes. Shea wrote that
 2 the “goal” was to “erode the media/states air of legitimacy by showing people they have
 3 names and addresses, and hopefully embolden others to act as well.” Shea told the CHS
 4 that Cole, who at the time was using the nickname “Khim,” was developing “threatening”
 5 posters.
 6          Shea told the CHS that he had already formed an encrypted chat group titled
 7 “Operation Erste Säule.” Cole participated in the chat group using the moniker
 8 पकजबतचषथबल, which is made up of Hindi characters. As reflected by the chats, Cole
 9 played three roles in the scheme.
10        First, Cole developed the posters that were used in the operation. In particular, he
11 circulated a template of a poster that was later used in the operation:
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27 Cole later told the group that he had developed three posters—in fact, three posters were
28 later used in the operation:
     Government’s Sentencing Memorandum
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1           Second, Cole provided instructions to members as to how to carry out the scheme.
2 Cole directed that “newer initiates,” who were not publicly known to belong to AWD,
3 should deliver the posters. Cole also encouraged members to film the delivery of the
4 posters for propaganda purposes. Cole also instructed members to take measures to avoid
5 detection, and to surveil the victims’ houses in advance of the operation.
6           Third, Cole participated in selecting the victims, and strategized to maximize the
7 fear they would feel when they received his posters. As Cole told his followers, the goal
8 was to “intimidate” the victims by causing “frenzy” and instilling “fear”:
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     To maximize his victims’ fear, Cole encouraged members to tack rag dolls with a knife
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     on trees at the victims’ houses:
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     Government’s Sentencing Memorandum
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1 Cole also was extensively involved in identifying victims and collecting their
2 information. In the chat below, he congratulated a co-conspirator for identifying “three
3 jews” as targets:
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10          On January 9, 2020, in the midst of Cole’s planning of the operation on the
11 encrypted chat service, the CHS and an undercover agent visited Cole at his Texas
12 residence. During part of the meeting, Cole wore his Ku Klux Klan robe:
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     Government’s Sentencing Memorandum
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 1          During the meeting, which was recorded, Cole talked about the plot. He
 2 specifically identified two sets of victims. First, he identified a member of Seattle’s Anti-
 3 Defamation League (“ADL”). He also identified a Seattle news reporter. This reporter
 4 had done a series of stories on Cole’s involvement in AWD. Cole also expressed his
 5 desire that victims be targeted in their homes to maximize the fear, recalling with
 6 fondness an incident where an extremist had stuck a knife in a tree at a victim’s home:
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20          On January 25-26, the operation launched. An AWD member affixed a poster to
21 the bedroom window of a journalist in Arizona associated with a Jewish publication. The
22 poster depicted a man in a skull mask holding a Molotov cocktail in front of a burning
23 house:
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     Government’s Sentencing Memorandum
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     The poster also included the victim’s name and home address at the bottom of the poster,
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     along with Atomwaffen’s symbol and the message “YOU HAVE BEEN VISITED BY
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     YOUR LOCAL NAZIS.”
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             In Florida, two AWD members affixed the following poster to the house of a
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     person that they wrongly believed belonged to a news reporter who was born in Puerto
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     Rico:
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     Government’s Sentencing Memorandum
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     The news reporter’s name and home address were listed on the poster, again with the
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     message that “YOU HAVE BEEN VISITED BY YOUR LOCAL NAZIS.” The Florida
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     house that the AWD members targeted in fact belonged to a Black woman who had no
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     connection to the news reporter.
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            In Washington State, the Seattle news reporter who Cole had targeted received the
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     following poster in the mail, which depicted people pointing guns at a reporter:
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     Government’s Sentencing Memorandum
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16 The image “Death to Pigs” was lifted from a crime scene photograph taken at the site at
17 one of the Charles Manson murders where the identical message was written in blood:
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     Cole’s selection of the phrase was not coincidental—the reporter had done a story
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     mentioning that Cole had embraced Manson’s “race war” ideology.
     Government’s Sentencing Memorandum
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 1          Finally, two members affiliated with the Seattle ADL received posters in the mail.
 2 One of the victims received the Molotov cocktail poster while the other received the “We
 3 Are Watching” poster that Cole had circulated to the group during the encrypted chats.
 4      C. The Search Warrant
 5          On February 26, 2020, FBI agents arrested Cole and searched his residence. In
 6 addition to recovering evidence tying Cole to the scheme, officers recovered from his
 7 room an assault rifle:
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19 Officers also recovered a loaded magazine and a host of Nazi and AWD materials.
20 Officers also recovered from Cole’s car seven magazines, five of which were loaded, as
21 well as a box of ammunition.
22                            SENTENCING GUIDELINES

23          The government concurs with Probation’s calculation of the Guidelines. Cole is

24 criminal history category I, and his total offense level is 27, yielding a range of 70-87
25 months.
26          The defense disputes two enhancements, but both of them apply. First, Cole

27 claims that he should not receive an increase for being a leader because Shea was the
28 leader of the scheme. In fact, Cole and Shea were both leaders of the scheme. See
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 1 USSG § 3B1.1 n. 4 (“There can, of course, be more than one person who qualifies as a
 2 leader or organizer of a criminal association or conspiracy.”). As the Court saw at trial,
 3 Cole created and distributed the posters to the AWD members who were participating in
 4 the scheme. He repeatedly gave directions to his followers as to how to implement and
 5 hide the scheme. He personally chose at least two of the victims and instructed others on
 6 how they should select victims in their areas. In light of this conduct, Cole was clearly a
 7 “manager” and “organizer” of the scheme. Id. § 3B1.1(a)(1).
 8          Second, Cole objects to the two point enhancement under Section 2A6.2(b)(1) for
 9 threatening the use of a “dangerous weapon” on the ground that the poster depicting the
10 Molotov cocktail did not explicitly threaten the use of the Molotov cocktail. The Court
11 has applied this enhancement with respect to the three prior defendants, and should do so
12 here as well because the poster clearly threatened the use of the Molotov cocktail. The
13 poster showed a man holding the Molotov cocktail in front of a burning house. The clear
14 message from the poster was that the sender was prepared to burn down the recipient’s
15 house.
16          In sum, the Court should apply the Guidelines as calculated by Probation.
17                                        SENTENCING ANALYSIS
18          Cole deserves significantly more punishment in this case relative to his co-
19 conspirators for several reasons:
20          First, Cole, unlike his co-conspirators, was repeatedly associated with violence
21 and firearms. He stockpiled weapons, fled to Texas after they were seized by law
22 enforcement, and promptly acquired a new assault rifle. He helped create AWD
23 promotional videos showing AWD members firing assault rifles while spewing racial
24 epithets and promising a “race war”:
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12 He helped organize “hate camps” where AWD members engaged in combat and firearms
13 training:
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13          Second, Cole has not simply failed to accept responsibility—unlike what his co-
14 conspirator did—but rather he remains defiant and steadfast in his lack of remorse.
15 Indeed, he described the case against him to his mother after trial as a “persecution”
16 against him, and he showed no remorse during his presentence report interview.
17        Third, Cole’s role in the scheme was particularly aggravating. He created the
18 posters, choosing the violent images to amplify the fear that victims would feel. He
19 emphasized to his followers the importance of targeting victims at their homes to make
20 them feel unsafe. He repeatedly smirked on camera while discussing the plot with the
21 informant, clearly reveling in the pain that the victims would feel when they received
22 their posters. His cruelty reflects a long-standing hate, captured by his boastful posing in
23 front of the gates of Auschwitz, where over a million Jews and other persecuted
24 individuals were murdered.
25        For all of these reasons, the government believes that a sentence at the top of the
26 range, 87 months, is appropriate. The Court also should place Cole on three years of
27 supervised release, subject to the conditions recommended by Probation. Cole does not
28 have the ability to pay a fine and thus none should be imposed.
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1 DATED: January 4, 2022
2                                         Respectfully submitted,
3                                         NICHOLAS BROWN
                                          United States Attorney
4
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